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     M.T. BRANTINGHAM, SHANE JOYNER,
 6   MATTHEW GALVIN, AND BRIAN KHARRL

 7                              UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9
10    RYAN BRANDON,                                         CASE NO. 3:20-cv-00142-LRH-CLB
11                                       Plaintiff,
                                                            STIPULATION AND ORDER FOR
12
      vs.                                                   DISMISSAL WITH PREJUDICE
13
      LYON COUNTY DEPUTY BRANTINGHAM,
14    M.T.; LYON COUNTY DEPUTY SHANE
15    JOYNER; LYON COUNTY DEPUTY
      MATTHEW GALVIN; and, MINERAL
16    COUNTY DEPUTY BRIAN KHARRL,
17                                       Defendants.
18
19          COME NOW Plaintiff, RYAN BRANDON, and Defendants, M.T. BRANTINGHAM,

20   SHANE JOYNER, MATTHEW GALVIN, and BRIAN KHARRL, by and through their
21
     respective undersigned counsel, and hereby stipulate that the above-entitled matter
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         may be dismissed with prejudice in its entirety and each party to bear their own costs and
 1
 2       attorney's fees.

 3        DATED this 13th day of October, 2020.           DATED this 13th day of October, 2020.
 4
          LAW OFFICES OF TERRI KEYSER-COOPER              THORNDAL ARMSTRONG DELK
 5                                                         BALKENBUSH & EISINGER

 6
          By: / s / Terri Keyser-Cooper_________          By: / s / Katherine F. Parks __________
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11          Attorney for Plaintiff                           M.T. BRANTINGHAM, SHANE JOYNER,
            Ryan Brandon                                     MATTHEW GALVIN, AND BRIAN KHARRL
12
13
14
                                                     ORDER
15
                 IT IS SO ORDERED.
16
17               DATED ____________________,      2020.
                       this 15th day of October, 2020.
18
                                                      ___________________________________
19
                                                      UNITED
                                                      LARRY R.STATES
                                                                HICKSMAGISTRATE JUDGE
20                                                    UNITED STATES DISTRICT JUDGE
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